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U.S. Department of Justice
Environment and Natural Resources
Division

 

Environmental Crimes Section Telephone (202) 305-0321
P.O. Box 7611 Facsimile (202) 514-8865

Washington, DC 20044

June 14, 2018

Harold Kokes, Esq.
700 N Main St.2nd Floor
Pleasantville , NJ 08232

Re: United States v. Joseph Kelley, 18-cr-22 ~g (wut )

Dear Mr. Kokes:

This letter sets forth the plea agreement between your client, Joseph
Kelley, and the Assistant Attorney General for the Environment and Natural
Resources Division of the Department of Justice (“this Office”). This Office
extends an offer of this plea agreement until close of business on July 6, 2018,
when it expires. Your client may accept this plea agreement by signing it before
that deadline.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from Joseph Kelley to Count 6 of the Indictment, which
charges him with knowingly selling, on or about April 12, 2013, American eels,
knowing those eels to be intended for exportation contrary to laws and
regulations of the United States, namely Title 16, United States Code, Sections
3372(a}(1) and 3373(d)(2), and Title 50, Code of Federal Regulations, Section
14.63. If Joseph Kelley enters a guilty plea and is sentenced on this charge,
and otherwise fully complies with all of the terms of this agreement, this Office
will not initiate any further criminal charges against him in relation to
American eel trafficking during the period from 2012-2014. In addition, if
Joseph Kelley fully complies with all of the terms of this agreement, at the time
of sentencing in this matter, this Office will move to dismiss counts 1, 2, and 3
of the Indictment, Criminal No. 18-22, against him. However, in the event that
a guilty plea in this matter is not entered for any reason or the judgment of
conviction entered as a result of this guilty plea does not remain in full force
and effect, Joseph Kelley agrees that any dismissed charges and any other
charges that are not time-barred by the applicable statute of limitations on the
date this agreement is signed by him may be commenced against him,
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notwithstanding the expiration of the limitations period after he signs the
agreement.

Sentencing

The violation of Title 18, United States Code, Section 554, to which
Joseph Kelley agrees to plead guilty, carries a statutory maximum prison
sentence of ten years, and a statutory maximum fine equal to the greatest of:
(1) $250,000; (2) twice the gross amount of any pecuniary gain that any
persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the
sentencing judge may be subject to the payment of interest.

The sentence to be imposed upon Joseph Kelley is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence Joseph Kelley ultimately

will receive.

Further, in addition to imposing any other penalty on Joseph Kelley, the
sentencing judge: (1) will order Joseph Kelley to pay an assessment of $100,
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; and (2) pursuant to 18 U.S.C. § 3583, may require Joseph Kelley to
serve a term of supervised release of not more than three years, which will
begin at the expiration of any term of imprisonment imposed. Should Joseph
Kelley be placed on a term of supervised release and subsequently violate any
of the conditions of supervised release before the expiration of its term, Joseph
Kelley may be sentenced to not more than two years’ imprisonment in addition
to any prison term previously imposed, regardless of the statutory maximum
term of imprisonment set forth above and without credit for time previously
served on post-release supervision, and may be sentenced to an additional

term of supervised release.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on Joseph Kelley by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office

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of: (1) this agreement; and (2) the full nature and extent of Joseph Kelley’s
activities and relevant conduct with respect to this case.

Stipulations

This Office and Joseph Kelley agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Joseph Kelley from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office’s right to
respond to questions from the Court and to correct misinformation that has

been provided to the Court.
Waiver of Appeal and Post-Senitencing Rights

As set forth in Schedule A, this Office and Joseph Kelley waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 or a motion
under 28 U.S.C. § 2255.

Immigration Consequences

The defendant understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses may result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. The
defendant understands that the immigration consequences of this plea will be
imposed in a separate proceeding before the immigration authorities. The
defendant wants and agrees to plead guilty to the charged offenses regardless
of any immigration consequences of this plea, even if this plea will cause his
removal from the United States. The defendant understands that he is bound
by his guilty plea regardless of any immigration consequences of the plea.
Accordingly, the defendant waives any and all challenges to his guilty plea and

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to his sentence based on any immigration consequences, and agrees not to
seek to withdraw his guilty plea, or to file a direct appeal or any kind of
collateral attack challenging his guilty plea, conviction, or sentence, based on
any immigration consequences of his guilty plea.

Other Provisions

Joseph Kelley further agrees that as a condition of any term of probation
or supervised release imposed by the Court as part of his sentence, he will not
fish for American eels anywhere in the United States, pursuant to a legal
license or otherwise.

This agreement is limited to the Department of Justice Environment and
Natural Resources Division, Environmental Crimes Section, and cannot bind
other federal, state, or local authorities. However, this Office will bring this
agreement to the attention of other prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Joseph
Kelley. This agreement does not prohibit the United States, any agency thereof
{including U.S. Fish and Wildlife Service and the Internal Revenue Service}, or
any third party from initiating or prosecuting any civil or administrative
proceeding against Joseph Kelley.

No provision of this agreement shall preclude Joseph Kelley from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Joseph Kelley received constitutionally
ineffective assistance of counsel.
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No Other Promises

This agreement constitutes the plea agreement between Joseph Kelley
and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.

Very truly yours,

JEFFREY H. WOOD

Acting Assistant Attorney General

Environment and Natural Resources
Division

By: Cassandra Barnum
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Senior Trial Attorney
 

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Harold Kokes, Esq.

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Plea Agreement With Joseph Kelley
Schedule A

1. This Office and Joseph Kelley recognize that the United States
Sentencing Guidelines are not binding upon the Court. This Office and J oseph
Kelley nevertheless agree to the stipulations set forth herein.

2. The version of the United States Sentencing Guidelines effective
November 1, 2013, applies in this case. The applicable guideline for Count
Seven is U.S.S.G. § 202.1. Pursuant to U.S.S.G. § 202.1, The Base Offense
Level is 6.

3. Joseph Kelley committed the offense for pecuniary gain, pursuant
to U.S.S.G. § 202.1(b)(1). This results in an increase of 2 levels.

4. The market value of the American eels trafficked was greater than
$200,000 but not more than $400,000, resulting in an increase of 12 levels
pursuant to U.S.S.G. §§ 202.1(3)(A) and 2B1.1.

5. As of the date of this letter, Joseph Kelley has clearly demonstrated
a recognition and affirmative acceptance of personal responsibility for the
offense charged. Therefore, a downward adjustment of 2 levels for acceptance
of responsibility is appropriate if Joseph Kelley’s acceptance of responsibility
continues through the date of sentencing. See U.S.S.G. § 3E1. I(a).

6. As of the date of this letter, Joseph Kelley has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this
Office to avoid preparing for trial and permitting this Office and the court to
allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in Joseph Kelley’s offense level pursuant to U.S.S.G.
§ 3E1.1(b) if the following conditions are met: (a} Joseph Keiley enters a plea
pursuant to this agreement, (b) this Office in its discretion determines that
Joseph Kelley’s acceptance of responsibility has continued through the date of
sentencing and therefore qualifies for a 2-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) Joseph Kelley’s offense
level under the Guidelines prior to the operation of § 3E1.1(a) is 16 or greater.

7. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Joseph Kelley after adjustment for
acceptance of responsibility as detailed in Paragraphs 5 and 6 is 17 (the
“agreed total Guidelines offense level’).

8. The parties agree not to seek or argue for any upward or downward
departure.
 

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9. Joseph Kelley knows that he has and, except as noted below in
this paragraph, voluntarily waives, the right to file any appeal, any collateral
attack, or any other writ or motion, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges
the sentence imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total Guidelines
offense level of 17. This Office will not file any appeal, motion, or writ which
challenges the sentence imposed by the sentencing court if that sentence falls
within or above the Guidelines range that results from the agreed total offense
level of 17. The parties have reserved any right they may have under 18 U.S.C.
§ 3742 to appeal the sentencing court’s determination of the criminal history
category. The provisions of this paragraph are binding on the parties even if
the Court employs a Guidelines analysis different from that stipulated to
herein. Furthermore, if the sentencing court accepts a stipulation, both parties
waive the right to file an appeal, collateral attack, writ, or motion claiming that
the sentencing court erred in doing so.
